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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                 Plaintiff,

     v.                              No. 1:17-cv-11008

CELLTRION HEALTHCARE CO., LTD.,      PUBLIC
CELLTRION, INC., and                 REDACTED VERSION
HOSPIRA, INC.

                 Defendants.


   MEMORANDUM IN SUPPORT OF DEFENDANTS’ DAUBERT MOTION TO
    EXCLUDE OPINION OF SEAN NICHOLSON REGARDING DAMAGES
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I.        INTRODUCTION

          The opinions of Janssen’s damages expert, Dr. Nicholson, should be excluded under

Daubert because he failed to apply the law’s apportionment requirement. His damage opinions are

based on nothing beyond purported “but for” causation, but that is not enough under the law.

“[T]he Supreme Court’s patent cases make quite clear that more than but-for causation is

required for apportionment,” which is a separate and independent requirement. Mentor Graphics

Corp. v. EVE-USA, Inc., 870 F.3d 1298, 1301 (Fed. Cir. 2017) (emphasis added) (Dyk, J.,

dissenting on denial of rehearing).

          In addition to showing “but for” causation, the Supreme Court and Federal Circuit have

long required apportionment of damages: “When a patent is ... not for an entire[] ... machine or

contrivance, the patentee must ... separate or apportion ... the patentee’s damages between the

patented feature and the unpatented features.” Garretson v. Clark, 111 U.S. 120, 121 (1884). That

rule applies in “every case,” requiring patentees to provide “evidence tending to separate or

apportion … patentee’s damages between” the “added … usefulness” of the patent’s

“improvement” and “the other parts” of the “marketable article.” Lucent Techs., Inc. v. Gateway,

Inc., 580 F.3d 1301, 1337 (Fed. Cir. 2009) (partly quoting Garretson, 111 U.S. at 121) (emphasis

added).

          As the Federal Circuit recently held, “apportionment is an important component of

damages law generally, and we believe it is necessary in both reasonable royalty and lost profits

analysis.” Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1287 (Fed. Cir. 2017). The

apportionment requirement ensures that a patentee “seek[s] only those damages attributable to the

infringing features.” VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1326 (Fed. Cir. 2014)

(citing Garretson, 111 U.S. at 120–21). To satisfy this requirement, “the trial court must carefully

tie proof of damages to the claimed invention’s footprint in the market place.” ResQNet.com, Inc.


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v. Lansa, Inc., 594 F.3d 860, 869 (Fed. Cir. 2010). Permitting an expert to expand beyond that

footprint “does not support compensation for infringement but punishes beyond the reach of the

statute.” Id.

        Here, Dr. Nicholson made no effort to apportion. While admitting

                                                          infliximab products, he concedes he has

not

                                    Ex. 1, Nicholson Dep. Tr. at 37:21-22, 40:16-21, 41:3-8. This

renders both his lost profits and reasonable royalty opinions inadmissible under the law, because

apportionment is required in “every case.” Garretson, 111 U.S. at 121.

        A failure to apportion is particularly egregious here, because the accused products—the

media or “food” used to grow cells—are only a tiny part of a much larger process for creating

infliximab antibodies. That larger process includes, for instance, creating specific DNA that codes

for the antibodies, incorporating that DNA into specially engineered cells lines, growing the cells

to produce antibodies, filtering, harvesting, and purifying the resulting antibodies, and creating

injectable formulations for those once-patented antibodies. The tiny portion of the value of

infliximab attributable to cell media is confirmed by

                                                                         . Ex. 2, Hales Dep. Tr. at

66:14-19; Ex. 3, Leonard Report at Appx. 3.

        Yet Dr. Nicholson calculated his damages on the entire market value of the infliximab

products—Inflectra®’s entire value for his reasonable royalty calculation and Remicade®’s entire

value for his lost profits analysis—even though the ’083 patent covers cell food, which is not even

part of the final product. Janssen has no legal justification for Dr. Nicholson’s approach. The

Federal Circuit has recognized only two specific circumstances—neither of which applies here—




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where any such “entire market value” analysis complies with the Supreme Court’s apportionment

requirement.

       First, the Federal Circuit applies what is known as the “entire market value rule,” which is

“a narrow exception to th[e] general rule” requiring a specific apportionment analysis.

LaserDynamics, Inc. v. Quanta Comp., Inc., 694 F.3d 51, 67 (Fed. Cir. 2012). That exception

applies, however, only “[i]f … the patented feature drives the demand for” the entire product. Id.

“[I]t is not enough to merely show that the [claimed invention] is viewed as valuable” or even

“essential to the [product’s] use.” Id. at 68. The invention must actually “drive[] demand.” Id. at

67. In that circumstance, the apportionment requirement is satisfied because the “entire value of”

a product “is properly and legally attributable to the patented feature,” meaning a proper

apportionment reflects the “entire value” of that product. Ericsson, Inc. v. D-Link Sys., Inc., 773

F.3d 1201, 1227 (Fed. Cir. 2014).

       Janssen does not claim that the entire market value rule applies here. Nor could it. The

particular kind of cell culture media a company uses does not “drive demand” for infliximab

products. As Janssen’s medical expert admitted, “cell culture media is not something that

physicians or patients take into account when selecting a biologic.” Ex. 4, Rustgi Reply Report ¶8.



                                           Ex. 1, Nicholson Dep. Tr. at 112:6-22.

       Second, in limited circumstances not applicable here, a so-called Panduit analysis can

provide a fair proxy for the apportionment requirement (only as a lost profits claim) and, thus

justify a full-market-value analysis without any separate apportionment. In Mentor Graphics, for

instance, the Federal Circuit held that “on the undisputed facts of [the] record, satisfaction of the

Panduit factors satisfies principles of apportionment: Mentor’s damages are tied to the worth of




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its patented features.” Mentor Graphics, 851 F.3d at 1288 (emphasis added). In a concurring

opinion denying a petition for rehearing en banc just last year, Judge Stoll likewise stated that

under “the narrow facts” of that case, “the panel determined that because the Panduit factors are

satisfied, the damages award properly accounted for apportionment.” Mentor Graphics II, 870

F.3d at 1300.

       Here, Panduit doesn’t even apply, much less provide a fair proxy for the apportionment

requirement. In fact, Janssen recognized over a year ago that “[t]he Panduit factors are not well

suited to the facts of this case, as Janssen is not selling a competing cell culture media and does

not seek lost profits based on lost sales of cell culture media.” No. 15-10698, Dkt. 412 at 3. Yet

Janssen has now done an about face, seeking to justify its massive damages request through a

misapplication of Panduit.

       Janssen’s distortion of Panduit does not and cannot satisfy the apportionment requirement.

The Federal Circuit emphasizes that “the Panduit test is a demanding one.” Mentor Graphics, 851

F.3d at 1289. It “operates under an inherent assumption, not appropriate in this case, that the patent

owner and the infringer sell products sufficiently similar to compete against each other in the same

market segment.” BIC Leisure Prods., Inc. v. Windsurfing Int’l, Inc., 1 F.3d 1214, 1218 (Fed. Cir.

1993). “The relevant market … includes other devices or substitutes similar in physical and

functional characteristics to the patented invention.” Micro Chem., Inc. v. Lextron, Inc., 318 F.3d

1119, 1124 (Fed. Cir. 2003) (emphasis added).

       Here, the “patented invention” is cell culture media, which is therefore the “relevant

market.” But “Janssen is not selling a competing cell culture media” and thus is not “seek[ing] lost

profits based on lost sales of cell culture media,” No. 15-10698, Dkt. 412 at 3. Therefore, the

“inherent assumption” in Panduit does not apply here, which fundamentally derails Dr.




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Nicholson’s efforts to rely on Panduit.

       He also misapplies Panduit by mixing and matching different markets, which provides a

separate and independent basis for rejecting his lost profits opinion beyond his failure to apportion.

For example, Panduit factor 1 asks whether there is “demand for the patented product.” Panduit

Corp. v. Stahlin Bros. Fibre Works, Inc., 575 F.2d 1152, 1156 (6th Cir. 1978). For that factor, Dr.

Nicholson states that

                               Ex. 5, Report at 17 (emphasis added). But Panduit factor 3 asks

whether the patentee has the “capability to meet the demand” for “the product covered by the

patent,” (again, cell culture media). Gyromat Corp. v. Champion Spark Plug Co., 735 F.2d 549,

552 (Fed. Cir. 1984); Panduit, 575 F.2d at 1156. Yet, Dr. Nicholson opines that



                    Ex. 1, Nicholson Dep. Tr. at 316:8-20, 317:14-318:15. Thus, Panduit provides

no justification for Dr. Nicholson’s failure to apportion.

       Janssen’s motivation for basing damages on the         -fold more valuable infliximab market

is transparent: it allows Janssen to present damages figures grossly inflated beyond anything

remotely resembling the fair value of the “footprint” of the claimed media. Law settled for over a

century precludes any such approach. Because Dr. Nicholson applied the wrong legal standard for

patent damages, his opinions should be excluded.

II.    FACTUAL BACKGROUND

       A.      Cell Culture Media

       Janssen no longer has a patent on infliximab. In August 2016, this Court invalidated the

’471 patent, which covered infliximab. No. 15-10698, Dkt. 226. The Federal Circuit confirmed

that patent’s invalidity earlier this year. In re: Janssen Biotech Inc., 880 F.3d 1315, 1326 (Fed.

Cir. 2018); Janssen Biotech, Inc. v. Celltrion Healthcare Co., Fed. Cir. No. 2017-1120, ECF #61


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(Jan. 23, 2018).

       The ’083 patent claims cell culture media. See Dkt. 1-1.

                                                                        Ex. 6, Plaintiff’s Resp. to

Defendants’ First Set of RFAs (Feb. 1, 2018) at RFA No. 13.



                                                                        Id. at RFA No. 14; Ex. 7,

Douglass Dep. Tr. at 67:21-73:13; Ex. 1, Nicholson Dep. Tr. at 158:25-159:6.

                                                                                            Ex. 1,

Nicholson Dep. Tr. at 40:16-41:8. One such input is a cell culture media, which is used to grow

cells and which Celltrion obtains from GE HyClone. Ex. 8, Frohlich Report at 26-27, 33. Cell

culture media does not end up in the final drug product. Id.

       There are many other inputs into that process. For instance,

                                                                                      Ex. 9, White

Dep. Tr. at 378:22-24.

            Id. at 377:22-24, 378:25-379:6.                                 (Ex. 10, Hickey Dep.

Tr. at 71:16-23), but

                                                                           Ex. 1, Nicholson Dep.

Tr. at 41:3-8, and thus made no attempt to tie Janssen’s alleged damages to any value attributable

to the ’083 patent.

       B.      Dr. Nicholson’s Opinions

       Dr. Nicholson provides two alternative damages opinions: one based on Janssen’s alleged

lost Remicade® profits (in the form of alleged lost Remicade® sales and alleged erosion of the

price of Remicade®) and one based on an alleged “reasonable royalty” (based on Defendants’

worldwide sales of Remsima® and Inflectra®). Ex. 5, Report at 3-5. Neither of Dr. Nicholson’s


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analyses are based on sales of cell culture media, the subject of the ’083 patent. Indeed, Dr.

Nicholson never bothered to calculate the total sales of the allegedly infringing media, or determine

any value actually tied to those sales, as he

                 Ex. 1, Nicholson Dep. Tr. at 160:8-161:13.

       For his lost profits analysis, Dr. Nicholson relies solely on “the four Panduit factors.” Ex.

5, Report at 3; Ex. 1, Nicholson Dep. Tr. at 197:11-19. For the first two Panduit factors—“demand

for the patented product” and “absence of acceptable noninfringing substitutes”—Dr. Nicholson

focuses on the market for cell culture media.

                                                                         Ex. 5, Report at 3. Based on

the opinion of other experts, he also finds that there was no

                                                                                 Id.

       By contrast, for the third and fourth Panduit factors—the “capability to exploit the

demand” and “the amount of the profit he would have made”—Dr. Nicholson switches his focus

to the market for infliximab. He

                                                                     Id. (emphasis added). And he

concludes that absent infringement, Janssen would have made

                                                                Ex. 11, Supp. Report at 2. For that

conclusion, he attributes 100 percent of every dollar of alleged lost profits associated with

Remicade® (an unpatented infliximab molecule) to the ’083 patent (a patent covering certain cell

culture media compositions). Ex. 5, Report at 4, 21.

       As an alternative basis for damages, Dr. Nicholson offers a reasonable royalty opinion

based on three potential hypothetical negotiations (each based on a different date of first alleged

infringement). Ex. 5, Report at 4-5. Dr. Nicholson bases this opinion on the assumption that, absent




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the alleged infringement, Defendants’ launch of Remsima® and Inflectra® worldwide would have

been materially delayed. Ex. 5, Report at 35-37. To avoid any delay, Dr. Nicholson concludes that

Defendants would have paid 100 percent of the U.S. Inflectra® profit for the delay period for the

use of the ’083 patent, which, in his view, is                      Ex. 5, Report at 48-49; Ex. 1,

Nicholson Dep. Tr. at 85:18-25. Dr. Nicholson offers no analysis of what portion of these alleged

reasonable royalties are attributable to the ’083 patent compared to other contributors of

Inflectra®’s value.

III.   LEGAL STANDARD

       The Supreme Court has observed that Federal Rule of Evidence 702 “assign[s] to the trial

judge the task of ensuring that an expert’s testimony both rests on a reliable foundation and is

relevant to the task at hand.” Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993).

       The question of admissibility requires a determination of “whether the premises upon

which the [expert’s] opinion is based include assumptions about the applicable legal standard that

are incorrect.” Carapellucci v. Town of Winchester, 707 F. Supp. 611, 619 (D. Mass. 1989). Expert

opinions “cannot be based on an erroneous legal premise.” Martinez v. Porta, 601 F. Supp. 2d 865,

866 (N.D. Tex. 2009). Where an expert’s opinion is based on a legally improper standard, it is

excluded. See Cavanagh v. Taranto, 95 F. Supp. 3d 220, 231 (D. Mass. 2015) (expert’s legally

irrelevant testimony excluded under Rule 702); AAMP of Fl., Inc v. Auto. Data Sols., Inc., No:

8:13-cv-2019, 2015 WL 12843845, at *9 (M.D. Fla. Oct. 8, 2015) (expert’s opinions which are

“based on an incorrect legal standard” are excluded because “those opinions are irrelevant,

unreliable, and would mislead the jury.”).

       The Court should exclude damages opinions that do not apportion because “to be

admissible, all expert damages opinions must separate the value of the allegedly infringing features

from the value of all other features.” See Commonwealth Sci. and Indus. Research Org. v. Cisco


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Sys., Inc., 809 F.3d 1295, 1301 (Fed. Cir. 2015); VirnetX, 767 F.3d at 1328 (“[T]he district court

should have exercised its gatekeeping authority to ensure that only theories comporting with settled

principles of apportionment were allowed to reach the jury.”); Ferguson Beauregard/Logic

Controls, Div. of Dover Res., Inc. v. Mega Sys., LLC, 350 F.3d 1327, 1346 (Fed. Cir. 2003)

(reversing award of lost profits where district court failed to apportion between patented and

unpatented features); Good Tech. Corp. v. MobileIron, Inc., Civ. No. 12-05826, 2015 WL

3882608, at *4 (N.D. Cal. June 23, 2015) (no lost profits where damages expert did not apportion).

IV.    THE COURT SHOULD EXCLUDE DR. NICHOLSON’S LOST PROFITS AND
       REASONABLE ROYALTY OPINIONS BECAUSE OF HIS FAILURE TO
       APPORTION

       A.      “But For” Causation is Necessary But Not Sufficient to Prove Lost Profits:
               Apportionment is Always Required

       “To recover lost profits damages, the patentee must show a reasonable probability that,

‘but for’ the infringement, it would have made the sales that were made by the infringer.” Rite-

Hite Corp. v. Kelley Co., 56 F.3d 1538, 1545 (Fed. Cir. 1995). But in addition to “but for”

causation, there is another requirement, specific to patent law. This requirement, apportionment,

makes sure that a patentee “seek[s] only those damages attributable to the infringing features.”

VirnetX, 767 F.3d at 1326 (citing Garretson, 111 U.S. at 120–21). Merely showing “but for”

causation does not establish apportionment, as Judge Dyk recently explained: “the Supreme

Court’s patent cases make quite clear that more than but-for causation is required

for apportionment.” Mentor Graphics II, 870 F.3d at 1301 (Dyk, J., dissenting on denial of

rehearing).

       In addition to showing “but for” causation, a patentee must apportion damages by

“carefully t[ying] proof of damages to the claimed invention’s footprint in the market place.”

ResQNet.com, 594 F.3d at 869. As the Supreme Court explained 150 years ago, “[w]here the



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[infringed] patent with the profits that could fairly be allocated to customer demand related to the

features embodying the [not infringed] patent.” Id. at 1346. Likewise, Janssen makes no attempt

to distinguish between the profits due to any infringement of the ’083 patent with any other features

which drive customer demand.

       For example, Janssen’s now-invalid ’471 patent covered the infliximab molecule. Janssen

never disputes that the “features embodying the [’471] patent,” namely the infliximab antibody

itself, drive consumer demand. Infliximab is what customers actually purchase. Cell media is not

even present in the final product. Yet Dr. Nicholson’s analysis attributes one input in the

manufacturing process of infliximab to the entire value of the end drug product. Under Dr.

Nicholson’s logic, every single input required to manufacture Inflectra® would be valued at the

entirety of Remicade®’s (or Inflectra®’s) sales, because

                                    See Ex. 1, Nicholson Dep. Tr. at 48. Dr. Nicholson’s failure to

apportion requires that his opinions be excluded from trial.

       Dr. Nicholson’s failure to apportion is particularly egregious considering that this Court

invalidated Janssen’s patent covering the infliximab antibody. Yet Janssen’s damages model

assumes that the value of the ’083 patent is coextensive with the value of infliximab. This attempt

to calculate damages on the entire market value of infliximab is legally improper, and the Court

should “exercise[] its gatekeeping authority to ensure that only theories comporting with settled

principles of apportionment [are] allowed to reach the jury.” VirnetX, 767 F.3d at 1328.

       B.      Nothing Justifies Dr. Nicholson’s Failure to Apportion

       The Federal Circuit has recognized only two specific circumstances where any such “entire

market value” analysis complies with the Supreme Court’s apportionment requirement. Neither

circumstance applies here.




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               1.      The Entire Market Value Rule Does Not Apply to the Accused Cell
                       Culture Media

       The primary circumstance is under the narrowly applied “entire market value rule.”

LaserDynamics, 694 F.3d at 67. Under that rule, the full value of a product may be used to calculate

damages only “where the entire value of a machine as a marketable article is properly and legally

attributable to the patented feature.” Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1227 (Fed.

Cir. 2014) (emphasis added); see also Sessions v. Romadka, 145 U.S. 29, 45 (1892) (“[P]rofits

upon the entire article are only allowable where such article is wholly the invention of the patentee,

or where its entire value is properly and legally attributable to the patented feature.”).

       “To employ the entire market value rule, plaintiffs first must show that the infringing

feature is the primary reason that consumers buy the product.” Good Tech., 2015 WL 3882608, at

*4 (citing Ericsson, 773 F.3d at 1226; VirnetX, 767 F.3d at 1326). “It is not enough to merely show

that the [patented feature] is viewed as valuable, important, or even essential to the use of the

[entire accused product.]” LaserDynamics, 694 F.3d at 67–68. Rather, the plaintiff must show that

the patented feature “is the ‘basis for customer demand.’” Rite-Hite, 56 F.3d at 1549 (citation

omitted).

       Janssen does not even contend the entire market value rule applies. Nor could it. As

Janssen’s medical expert admitted, “cell culture media is not something that physicians or patients

take into account when selecting a biologic.” Ex. 4, Rustgi Reply Report ¶8; see also Ex. 9, White

Dep. Tr. at 170:25-171:4



                                                                               Ex. 1, Nicholson Dep.

Tr. at 112:6-22.




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                                                    Ex. 12, Plaintiffs’ Resp. to Defendants’ First Set

of RFAs (May 31, 2016) at RFA Nos. 6-7; Ex. 13, HOS0044966 at 970; Ex. 6, Plaintiff’s Resp. to

Defendants’ First Set of RFAs (Feb. 1, 2018) at RFA Nos. 1, 7; Dkt. 87-3. Customers do not care,

or likely even know, what kind of media is used. Therefore, the ’083 media is not the “primary

reason that consumers buy the product.” Good Tech., 2015 WL 3882608, at *4 (citing

Ericsson, 773 F.3d at 1226; VirnetX, 767 F.3d at 1326).

        Moreover, to invoke the entire market value rule, a patentee must show that the “unpatented

and patented components are physically part of the same machine,” or “the unpatented and

patented components together were considered to be components of a single assembly or parts of

a complete machine, or they together constituted a functional unit.” Rite-Hite, 56 F.3d at 1540-50.

The accused media is not part of Inflectra® nor is Inflectra® “a functional unit” with the accused

media. Ex. 3, Leonard Report at 12; Ex. 8, Frohlich Report at 27. As the Federal Circuit explains:

        It is a clear purpose of the patent law to redress competitive damages resulting from
        infringement of the patent, but there is no basis for extending that recovery to
        include damages for items that are neither competitive with nor function with the
        patented invention. Promotion of the useful arts, see U.S. Const., art. I, § 8, cl. 8,
        requires one, but not the other.

Rite-Hite, 56 F.3d at 1551.

        Here, the accused cell culture media is neither sold with nor part of Remicade® or

Inflectra®. Dr. Nicholson thus wrongly “extend[s] recovery to include damages for items that are

neither competitive with nor function with the patented invention.” Id. The entire market value

rule is not applicable.

                2.        Dr. Nicholson’s Attempt to Apply the Panduit Factors for Lost Profits
                          Fails to Apportion

        In certain circumstances—not applicable here—a proper application of Panduit can satisfy



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the requirement to apportion. To establish lost profits under Panduit, the patentee must prove: (1)

demand for the patented product, (2) absence of acceptable non-infringing substitutes, (3) his

manufacturing and marketing capability to exploit the demand for the patented product, and (4)

the amount of the profit he would have made. Gyromat Corp., 735 F.2d at 552.

       But “[d]amages under Panduit are not easy to prove.” Mentor Graphics, 851 F.3d at 1285.

One reason is because “[u]nder Panduit, however, there can only be one recovery of lost profits

for any particular sale,” which logically precludes a lost profits award for claimed inventions

making up a small portion of the overall value of a product, particularly one that incorporates other

claimed inventions. Id. at 1289.

       For example, in Mentor Graphics, the Panduit analysis justified a lost profits award based

on the infringing product’s full value, but only because the value of the infringing product

(computer emulation technology for testing microchips) was fairly attributed to the patented

features of that product (a method of checking for source code “bugs”). 851 F.3d at 1289. The

Federal Circuit specifically held that “on the undisputed facts of [the] record, satisfaction of the

Panduit factors satisfies principles of apportionment: Mentor’s damages are tied to the worth of

its patented features.” Id. at 1288 (emphasis added). But Mentor Graphics does not stand for the

proposition that the satisfaction of the Panduit factors—in every case—satisfies the Supreme

Court’s apportionment requirement. See id. (“We leave for another day whether a different theory

of ‘but for’ damages adequately incorporates apportionment principles.”). Dr. Nicholson’s so-

called Panduit analysis differs significantly from Mentor Graphics. While the patentee in Mentor

Graphics sought damages based on an infringing product, Janssen seeks damages beyond the

accused products’ market, based on sales of a separate, unpatented product. In such circumstances,

Panduit does not satisfy the “necessary” requirement to apportion. Id. at 1287.




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         A concurring opinion denying rehearing en banc1 in Mentor Graphics further confirmed

the need to always comply with the apportionment requirement, regardless of “but for” causation

under a Panduit analysis. In that opinion, Judge Stoll—joined by Judges Newman, Moore,

O’Malley, Reyna, and Wallach—noted that the Federal Circuit has “consistently held that”

“apportionment is required.” Mentor Graphics II, 870 F.3d at 1299 (citing multiple cases). She

then explained that apportionment had been satisfied in Mentor Graphics under “the narrow facts

of this case.” Id. at 1300. Judge Stoll explained that the panel had “recognized” that the first two

Panduit factors “together ‘consider[ ] demand for the patented product as a whole’ and

‘consider[ ] demand for particular limitations or features of the claimed invention.’” Id. (citation

omitted, emphasis added).

         The jury in Mentor Graphics further found that the claimed invention drove demand and

“imbued” the product with its “marketable value,” based on the jury’s specific finding that “Intel

would not have purchased the [infringing] Synopsys emulator system without the two patented

features.” Id. Judge Stoll thus noted that “[u]nder these circumstances, further apportionment is

unnecessary,” because whether viewed “in terms of what imbues value to the ultimate combination

of features or what is a driver of demand for those combined features, the result is the same: the

apportionment required by Garretson is satisfied.” Id.

         Here, by contrast, the accused media—which is not even part of infliximab product—is

obviously not “what imbue[s] the combined features that made up the [drug] with marketable

value” and certainly does not “drive demand” for infliximab. There is no dispute about this.

Accordingly, even if Panduit applied here—which it does not—a separate apportionment analysis



1
 Subsequent to the denial of rehearing en banc, Eve-USA filed for certiorari. The petition for certiorari is currently
pending, and the Supreme Court recently called for the view of the Solicitor General.



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would still be required. Thus, Dr. Nicholson’s failure to apply the proper legal standard for patent

damages and apportion, by itself, justifies exclusion of his damages opinions. See VirnetX, 767

F.3d at 1328.

       C.       Dr. Nicholson Misapplied the Panduit Test for Lost Profits, Which Provides
                an Independent Ground for Excluding His Lost Profits Opinions

       Exclusion of Dr. Nicholson’s lost profits opinion is independently warranted based on his

misapplication of Panduit. The Panduit test is his sole justification for lost profits, but he

misapplied that test in fundamental ways.

       The Panduit test “operates under an inherent assumption, not appropriate in this case, that

the patent owner and the infringer sell products sufficiently similar to compete against each other

in the same market segment.” BIC, 1 F.3d at 1218. “The proper starting point to identify the

relevant market is the patented invention.” Micro Chem., 318 F.3d at 1124. Thus, under a Panduit

analysis, the accused infringer and the patentee must both participate in the accused product’s

market. See, e.g., Panduit, 575 F.2d at 1155-56 (patent covered ducts for electrical control systems

and both patented and accused product were such ducts); Rite–Hite, 56 F.3d at 1548 (patent

covered vehicle restraints and both patentee and infringer sold vehicle restraints); Calico Brand,

Inc. v. Ameritek Imps., Inc., 527 F. App’x 987, 996–97 (Fed. Cir.), decision clarified on reh’g, 547

F. App’x 966 (Fed. Cir. 2013) (patent covered utility lighter safety mechanism and both patentee

and infringer sold utility lighters); Mentor Graphics, 851 F.3d at 1283 (patents covered emulation

technology and both patentee and infringer sold emulators).

       The Federal Circuit’s opinion in BIC Leisure Prod., Inc. v. Windsurfing Int'l, Inc., 1 F.3d

1214 (Fed. Cir. 1993) provides a good example. There, both the patentee and the infringer sold

sailboards, but the sailboards “differed significantly in terms of price” and thus were not

“sufficiently similar to compete against each other in the same market segment.” Id. at 1218-19.



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Because the products were in separate markets, the patentee “did not show ‘but for’ causation

under a correct application of Panduit or otherwise.” Id. at 1219.

         The Federal Circuit has not hesitated to throw out Panduit analyses that fail to focus on the

correct market, even when the markets at issue are much more closely related than here, where

there is no comparison between the low value cell culture market and the high value infliximab

market. See, e.g., Mitutoyo Corp. v. Cent. Purchasing, LLC, 499 F.3d 1284, 1288–89 (Fed. Cir.

2007) (no “market overlap” where infringer’s brake calipers were priced substantially lower than

patentee’s brake calipers); Bose Corp. v. JBL, Inc., 112 F. Supp. 2d 138, 161-162 (D. Mass.

2000), aff’d, 274 F.3d 1354 (Fed. Cir. 2001) (no lost profits where patentee’s and accused products

“represent two distinct segments of the home speaker market” and patentee “failed to establish a

reasonable probability that a consumer buying one would purchase the other as a substitute.”).

         Dr. Nicholson concedes                                                          . He states that Panduit

factor 1, “demand for the patented product,” is about

                Ex. 5, Report at 3 (emphasis added). And he says that Panduit factor 2, the “absence

of non-infringing alternatives,” is all about

                                                                      Ex. 5, Report at 3 (emphasis added).2

         Yet for Panduit factors 3 and 4, Dr. Nicholson does an about face

         He concludes for the third factor

                                                               Ex. 5, Report at 3, 18 (emphasis added). For

the fourth factor, Dr. Nicholson again


2
 Dr. Nicholson relies on two other Janssen experts, Dr. Butler and Mr. Lit, to satisfy this element of Panduit. But, in
addition to the flaws discussed herein, Mr. Lit, Dr. Butler, and Dr. Nicholson misapply Panduit’s second factor by
comparing Defendants’ alternatives to the accused products rather than Janssen’s cell culture media. See Presidio
Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1381 (Fed. Cir. 2017) (“The correct inquiry
under Panduit is whether a non-infringing alternative would be acceptable compared to the patent owner’s product,
not whether it is a substitute for the infringing product.”) (emphasis added).



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                                                                                   Id. at 3 (emphasis

added).

          Panduit’s third factor, however, asks whether patent owner has “capability to meet the

demand for the product covered by the patent.” Gyromat Corp., 735 F.2d at 552 (emphasis added).

This is clear from the language of the test itself. The first Panduit factor requires “demand for the

patented product,” and the third factor requires that the patentee has “manufacturing and marketing

capability to exploit the demand.” Panduit, 575 F.2d at 1156. Thus the patentee must have the

capability to exploit the demand for the patented product, which is cell culture media. See

Gyromat, 735 F.2d at 552; see also SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 926 F.2d

1161, 1165 (Fed. Cir. 1991) (the patent owner must prove “(1) a demand for the patented product,”

and “(3) the patent owner’s manufacturing and marketing capability to exploit the demand for the

patented product.”) (emphasis added); Stryker Corp. v. Intermedics Orthopedics, Inc., 891 F.

Supp. 751, 825 (E.D.N.Y. 1995), aff’d, 96 F.3d 1409 (Fed. Cir. 1996) (“The third-

Panduit factor concerns the manufacturing and marketing capability of the patentee to meet the

demand for the patented product.”) (emphasis added).

          The crux of Dr. Nicholson’s misapplication of Panduit is his failure to define the relevant

market and then apply the test to that market. Instead, he selects different products and different

markets depending on the factor, violating the fundamental premise underlying the Panduit test.

The reason for Dr. Nicholson’s misapplication of the factors is clear. As Janssen recognized over

a year ago, “[t]he Panduit factors are not well suited to the facts of this case, as Janssen is not

selling a competing cell culture media and does not seek lost profits based on lost sales of cell

culture media.” No. 15-10698, Dkt. 412 at 3. If Dr. Nicholson had applied the factors to the cell




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culture media market, as he should have, Janssen would not meet the Panduit test and would not

be entitled to lost profits at all, and certainly could not craft a claim for           damages. Dr.

Nicholson’s application of the Panduit factors simply cannot be squared with the law or language

of Panduit. It must be excluded. See AAMP of Fl., 2015 WL 12843845 at *9 (expert’s opinions

which are “based on an incorrect legal standard” are excluded because “those opinions are

irrelevant, unreliable, and would mislead the jury.”).

        D.      Dr. Nicholson Fails to Apportion His Reasonable Royalty Damages

        Dr. Nicholson’s failure to apportion also warrants exclusion of his alternative reasonable-

royalty opinion. “[I]t is generally required that [reasonable] royalties be based not on the entire

product, but instead on the ‘smallest salable patent-practicing unit’”—here, cell culture media.

LaserDynamics, 694 F.3d at 67. Just as with a lost profits analysis, a patentee cannot go beyond

that footprint unless “the demand for the entire product is attributable to the patented feature.” Id.

at 67-68.

        Dr. Nicholson did not base his so-called reasonable royalty on the smallest salable patent-

practicing unit (again, cell culture media). He didn’t even determine the volume or dollar amount

of those sales. Instead, he based his reasonable royalty of                      on the assumption

Defendants would have paid 100 percent of their U.S. Inflectra® profit for the alleged one-year

delay required to design around the ’083 patent. Ex. 5, Report at 48-49; Ex. 1, Nicholson Dep. Tr.

at 85:18-25.

        But, as discussed above, the cell culture media does not drive demand for Inflectra® and,

thus, the entire market value rule is inapplicable. See supra at IV.B.1. It is also undisputed that

there are a number of inputs necessary to make infliximab other than cell media, such as the cell

line, bioreactors, facilities, and machinery, and each has value. Yet, Dr. Nicholson made no attempt

to separate these inputs and assign a value to the cell media, instead equating the entire market


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value of Inflectra® with the ’083 patent. Indeed,

                                                                                             Ex. 14,

HOS0044877 at 879; Ex. 3, Leonard Report at Appx. 4.

         Dr. Nicholson should have isolated the value attributable to the ’083 patented media

compositions, not sought the value of infliximab as a whole. His failure to do so is legally improper

and requires that his reasonable royalty opinions be excluded. See Commonwealth Sci., 809 F.3d

at 1301 (“to be admissible, all expert damages opinions must separate the value of the allegedly

infringing features from the value of all other features”); VirnetX, 767 F.3d at 1328 (“only theories

comporting with settled principles of apportionment [are] allowed to reach the jury”); see also

Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1311-12 (Fed. Cir. 2018) (vacating portion of

reasonable royalty opinion which failed to apportion); LaserDynamics, 694 F.3d at 66 (affirming

grant of new trial on damages due to expert’s failure to apportion).

V.       CONCLUSION

         Dr. Nicholson’s damages methodologies are legally improper and must be excluded from

trial.




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Dated: May 4, 2018                 Respectfully submitted,

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